           Case 2:08-cr-00082-RSL          Document 90        Filed 03/26/08      Page 1 of 3




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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )             CASE NO. CR08-082-RSL
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )             DETENTION ORDER
11   CEDRIC BARQUET,                      )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Cocaine and Crack Cocaine

15 Date of Detention Hearing:      March 25, 2008

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required and the safety of other persons and the community.

20          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.      Defendant has been charged with a drug offense the maximum penalty of which

22 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to both

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
     PAGE 1
           Case 2:08-cr-00082-RSL          Document 90        Filed 03/26/08      Page 2 of 3




01 dangerousness and flight risk, under 18 U.S.C. §3142(e).

02          2.      Defendant’s past criminal history includes a prior VUCSA conviction, giving rise

03 to a mandatory minimum of 20 years, if alleged. The AUSA proffers that defendant is a known

04 gang member who was involved in a recent gang shooting in which he was injured and refused to

05 cooperate. The AUSA alleges that there are two open gang-related shooting investigations

06 pending in King County in which the defendant is the subject. Pretrial Services indicates that

07 defendant has failed to register as required as a sex offender and is currently under investigation

08 by the Olympia Police Department for this failure.

09          3.      Taken as a whole, the record does not effectively rebut the presumption that no

10 condition or combination of conditions will reasonably assure the appearance of the defendant as

11 required and the safety of the community.

12 It is therefore ORDERED:

13          (1)     Defendant shall be detained pending trial and committed to the custody of the

14                  Attorney General for confinement in a correction facility separate, to the extent

15                  practicable, from persons awaiting or serving sentences or being held in custody

16                  pending appeal;

17          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

18                  counsel;

19          (3)     On order of a court of the United States or on request of an attorney for the

20                  Government, the person in charge of the corrections facility in which defendant is

21                  confined shall deliver the defendant to a United States Marshal for the purpose of

22                  an appearance in connection with a court proceeding; and

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
     PAGE 2
          Case 2:08-cr-00082-RSL         Document 90      Filed 03/26/08      Page 3 of 3




01         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

02               counsel for the defendant, to the United States Marshal, and to the United States

03               Pretrial Services Officer.

04         DATED this 26th day of March, 2008.



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06                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
     PAGE 3
